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                   UNITED STATES DISTRICT COURT                 ..^3 -       _2 pK, D 35
                    MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION                    CLEP,:', US           COUTT
                                                               Jvil^ClF- p:Si'-::CT r'JjKlJA
                                                                               FLORIDA


UNITED STATES OF AMERICA                   \
                                                    CASE NO.                    3(:7t.   Tfc>zi^f-
V.

                                                    18U.S.C.§371
SEBASTIEN VACHON-DESJARDINS                         18 U.S.C. § 1030
                                                    18U.S.C. §1343
                                                    18 U.S.C. §1349

                               INDICTMENT


      The Grand Jury charges:

                                COUNT ONE
                  (Conspiracy to Commit Computer Fraud)

      Beginning on an unknown date, but at least as early as in or about April

2020, and continuing through the date of this Indictment, in the Middle

District of Florida and elsewhere, the defendant,

                  SEBASTIEN VACHON-DESJARDINS,

did knowingly and intentionally conspire and agree with others known and

unknown to the Grand Jury to commit offenses against the United States

related to NetWalker Ransomware attacks, that is:

             a.    to knowingly cause the transmission of a program,

information, code, and command, and as a result ofsuch conduct,

intentionally cause damage without authorization to a protected computer.
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and the offense caused and would, if completed, have caused:(i)loss to one or

more persons during a one-year-period and loss from a related course of

conduct affecting one or more protected computers, aggregating at least $5,000

in value; and (ii) damage affecting 10 or more protected computers during a

one-year period, in violation of 18 U.S.C. § 1030(a)(5)(A),(c)(4)(A)(i)(I),

(c)(4)(A)(i)(VI), and (c)(4)(B)(i); and

              b.     to knowingly and with intent to extort from any person

any money or thing of value, transmit in interstate and foreign commerce any

communication containing a threat to cause damage to a protected computer

and a demand and request for money and other thing of value in relation to

damage to a protected computer, where such damage was caused to facilitate

the extortion, in violation of 18 U.S.C. § 1030(a)(7)(B),(a)(7)(C), and

(c)(3)(A).

       The facts ofthe separate offenses charged in Counts Three and Four are

alleged to be separate overt acts undertaken in furtherance ofthe conspiracy

and to accomplish the object ofthe conspiracy and incorporated by reference

as iffully set forth herein as separate overt acts.

       All in violation of 18 U.S.C.§ 371.
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                                COUNT TWO
                    (Conspiracy to Commit Wire Fraud)

      Beginning on an unknown date, but at least from as early as in or about

April 2020, and continuing through the date ofthis Indictment, in the Middle

District of Florida and elsewhere, the defendant,

                   SEBASTIEN VACHON-DESJARDINS,

did knowingly and voluntarily combine, conspire, confederate, and agree with

others, both known and unknown to the Grand Jury, to commit wire fraud, by

knowingly and with intent to defraud devising and intending to devise a

scheme and artifice to defraud, and for obtaining money and property, by

means of materially false and fraudulent pretenses, representations and

promises, and, for the purpose of executing the scheme and artifice to defraud,

knowingly transmitting and causing to be transmitted by means of wire, radio,

and television communication in interstate and foreign commerce, any

writings, signs, signals, pictures, and sounds, in violation of 18 U.S.C. § 1343.

      All in violation of 18 U.S.C. § 1349.

                               COUNT THREE
               (Intentional Damage to a Protected Computer)

      On or about May 1, 2020, in the Middle District of Florida and

elsewhere, the defendant,

                  SEBASTIEN VACHON-DESJARDINS,
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did knowingly cause the transmission ofa program, information, code, and

command—that is, a program, information, code, and command related to a

NetWalker Ransomware attack on a victim company located in Tampa,

Florida—and knowingly aided and abetted others in doing the same and in

attempting to do the same, and, as a result ofsuch conduct, intentionally

caused damage without authorization to a protected computer, and caused

loss to persons during a one-year period from the defendant's course of

conduct affecting protected computers aggregating at least $5,000 in value,

and caused damage affecting 10 or more protected computers during a one-

year period.

       In violation of 18 U.S.C. §§ 1030(a)(5)(A),(c)(4)(A)(i)(I),

(c)(4)(A)(i)(VI), and (c)(4)(B)(i), and 2.

                                 COUNTFOUR
 (Transmitting a Demand in Relation to Damaging a Protected Computer)

       On or about May 1, 2020, in the Middle District of Florida and

elsewhere, the defendant,

                    SEBASTIEN VACHON-DESJARDINS,

did knowingly and with intent to extort from any person any money or other

thing of value, transmit in interstate and foreign commerce any

communication containing a threat to obtain information from a protected

computer without authorization and in excess of authorization and to impair
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the confidentiality ofinformation obtained from a protected computer without

authorization and by exceeding authorized access, and a demand and request

for money and other thing of value in relation to damage to a protected

computer, where such damage was caused to facilitate the extortion—^that is, a

NetWalker Ransomware attack on a victim company located in Tampa,

Florida—and knowingly aided and abetted others in doing the same and in

attempting to do the same.

      In violation of 18 U.S.C. §§ 1030(a)(7)(B),(a)(7)(C),(c)(3)(A), and 2.

                                  FORFEITURE


       1.    The allegations contained in Counts One through Four ofthis

Indictment are realleged and incorporated as if set forth fully here for the

purpose of alleging forfeiture.

      2.     Upon conviction of a violation of 18 U.S.C.§ 1030, or a

conspiracy to violate 18 U.S.C. § 1030(18 U.S.C.§ 371), the defendant shall

forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(B), any property

constituting, or derived from,proceeds the person obtained directly or

indirectly, as a result ofsuch violation, and pursuant to 18 U.S.C. § 1030(i),

any personal property used or intended to be used to commit the offense.
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      3.     Upon conviction of a violation of 18 U.S.C. § 1343, or a

conspiracy to violate 18 U.S.C. § 1343(18 U.S.C. § 1349), the defendant shall

forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C.§ 2461(c), any property, real or personal, which constitutes or is

derived from proceeds traceable to the offense.

      4.     The property to be forfeited includes, but is not limited to, a

money judgment in the amount of at least $27,685,907.78, representing the

amount of proceeds obtained by the defendant from the offenses.

      5.     If any ofthe property described above, as a result of any act or

omission ofthe defendant:

             a.    cannot be located upon the exercise of due diligence;

             b.    has been transferred or sold to, or deposited with, a third

                   party;

             c.    has been placed beyond the jurisdiction ofthe court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which cannot be

                   divided without difficulty.
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  the United States of America shall be entitled to forfeiture of substitute


  property under the provisions of21 U.S.C. § 853(p), as incorporated by 18

  U.S.C.§ 982(b)(1).


                                           A TRUE BILL,


                                           Foreperson

        MARIA CHAPA LOPEZ
        United States Attorney


  By:
         Carlton C. Gammons
        Assistant United States Attorney


  By:
        S. Riand^Harj^er
        Trial Attorney


  By:
        Brian Mund
        Trial Attorney


  By:
        Cherie L. Kfeigsman
        Assistant United States Attorney
        Chief, National Security and Cybercrime Section
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December 20                      No.


                                UNITED STATES DISTRICT COURT
                                     Middle District of Florida
                                                Tampa Division


                                THE UNITED STATES OF AMERICA


                                                     vs.



                                SEBASTIEN VACHON-DESJARDINS



                                                INDICTMENT


                                 Violations: 18 U.S.C. §§ 371, 1349, 1343, 1030


                                 A true bill.


                                                 Foreperson

                                 Filed in open court this 2"^ day

                                 of December,2020.


                                                      Clerk



                                 Bail $_

                                                                                          GP0863 525
